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                 C. Héoe you begun an action in state orfederalcourtdqaling with the same
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                 D. Have you filed any grievances regarding the facts ofthis complaint?
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Case 7:19-cv-00876-JLK-RSB Document 1 Filed 12/24/19 Page 1 of 6 Pageid#: 1
          E.StatementofClaimts):Statebrieflythefactsinthiscomplaint.Describewhat
            actionts)eachdefendanttookinviolationofyourfederalrightsandincludethe
               relevantdates and places.Do notgive any Iegalargum ents orcite any cases
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